Case No. 1:20-cr-00305-DDD       Document 614     filed 12/13/24   USDC Colorado      pg 1
                                          of 1




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 Criminal Case No. 20-cr-00305-DDD-01

 UNITED STATES OF AMERICA,

      Plaintiff,

 v.

 Michael Aaron TEW,

      Defendant.



            VOLUNTARY SURRENDER ORDER SUPPLEMENTING JUDGMENT



          The Judgment imposed on November 12, 2024, directed Defendant to surrender to the
 institution designated by the United States Bureau of Prisons for service of sentence. The
 United States Bureau of Prisons has designated the FCI Florence Accordingly,


          IT IS ORDERED that Defendant, Michael Aaron Tew, shall surrender himself by
 reporting to the Warden at the FCI Florence, located at 5880 CO-67, Florence, CO 81226 no
 later than February 1, 2025, by 2:00 pm.
 Travel will be at his own expense.


                                           13th day of December 2024.
          DATED at Denver, Colorado, this ______


                                            BY THE COURT:


                                            ______________________________
                                            Daniel D. Domenico
                                            United States District Judge
